          Case 1:17-bk-10721-MT                      Doc 51 Filed 08/11/20 Entered 08/11/20 07:38:11                             Desc
                                                      Main Document    Page 1 of 2
Attorney or Party Name, Address, Telephone & FAX Numbers, and California State Bar Number     FOR COURT USE ONLY
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Santa Ana, CA 92705
Telephone: (949) 720-9200 Fax: (949) 608-0128

[x] Attorney for The Bank of New York Mellon Trust Company, N.A., f/k/a The
Bank of New York Trust Company, N.A., as Trustee, in trust for ChaseFlex
Multi-Class Mortgage Pass-Through Certificates, Series 2007-1



             UNITED STATES BANKRUPTCY COURT
              CENTRAL DISTRICT OF CALIFORNIA

In re Javier Primera aka Javier G Primera aka Javier Gonzalez Primera aka                     CHAPTER 13
Francisco Javier Gonzalez
                                                                               Debtor(s),     CASE NUMBER 1:17-bk-10721-MT

The Bank of New York Mellon Trust Company, N.A., f/k/a The Bank of New York                   [ ] ADVERSARY NUMBER (if applicable)
Trust Company, N.A., as Trustee, in trust for ChaseFlex Multi-Class Mortgage
Pass-Through Certificates, Series 2007-1                                                      [ ] See attached list for multiple cases that require
                                                                              Plaintiff(s),        an update to the attorneys information
                                             vs.
Javier Primera aka Javier G Primera
aka Javier Gonzalez Primera aka Francisco Javier Gonzalez
                                                                               Debtor(s).


                           NOTICE OF ATTORNEY CHANGE OF ADDRESS OR LAW FIRM
                                              (See page 2 for additional requirements)

The following information must be provided:

I,        Daniel K. Fujimoto                         ,          158575                              ,      wdk@wolffirm.com
          Name                                                  Bar ID Number                       E-Mail Address

     [X] am counsel of record or
         [ ] out of state attorney in the above-entitled cause of action for the following party

     [X] am counsel of record or
         [ ] out of state attorney on all cases listed as an attachment to this form (multiple cases)

and am requesting the following change(s):

                               PROVIDE ONLY THE INFORMATION THAT HAS CHANGED
          Attorney name changed to
          New Firm/Government Agency Name
          New Address 1851 East 1st Street, Suite 100, Santa Ana, CA 92705
          New Telephone Number                              New Facsimile Number
          New E-Mail Address



                                                    Notice of Change of Address or Law Firm
(September 2009)
       Case 1:17-bk-10721-MT             Doc 51 Filed 08/11/20 Entered 08/11/20 07:38:11                      Desc
                                          Main Document    Page 2 of 2
SELECT THE CATEGORY AND COMPLETE THE INFORMATION REQUESTED:

   [X] TO UPDATE NAME, ADDRESS OR FIRM INFORMATION:
       [X] I am providing the new information above pursuant to Local rule 2091-1 to be updated on the
           above-entitled cause of action and/or all cases listed on the attachment.

   [ ] TO BE TERMINATED FROM THE CASE:**
       [ ] I am, or
           [ ] the aforementioned attorney from my firm is no longer counsel of record in the above-entitled
               Cause of action and/or all cases listed in the attachment.

       Note: Attorneys for parties are never deleted from a case in order to maintain historical data.


CHECK ONE BOX
     [ ] The order relieving me/the aforementioned attorney from my firm was entered on
     [X] There is/are other attorney(s) from the undersigned attorney’s law firm/government agent who
         Is/are counsel of record in this case.
     [ ] I am, or
         [ ] the aforementioned attorney is no longer with the firm/government agency representing the
             above-named party in this action. There is/are attorney(s) from my former firm/government
             agency who are currently counsel of record in this/these case(s).

   **This form cannot be used as a substitution of attorney form. For substitution of attorney procedures, please refer to
   Local Bankruptcy Rule 2091-1 and form F2090-1.4, Substitution of Attorney. At least one member of the
   firm/government agency MUST continue to represent and received service for the parties indicated in this action.


Dated: August 11, 2020                                                     /s/ Daniel K. Fujimoto
                                                                    Signature of Present Attorney


IF YOUR FIRM IS NOT ALREADY PART OF THIS ACTION AND ARE ASSOCIATING IN AS COUNSEL OF RECORD A
NOTICE OF APPEARANCE PURSUANT TO F.R.B.P. 9010(b) SHOULD BE FILED. IF YOU ARE GOING TO APPEAR
PRO HAC VICE, A SEPARATE APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE
MUST BE FILED PURSUANT TO LBR 2090-1(b).

PLEASE NOTE: CM/ECF users must file this Notice of Change of Address or Law Firm separately and
electronically for every pending case pursuant to Local Bankruptcy Rule 2091-1. Please refer to the
procedures posted on the Court’s website on how to file this notice for single or multiple cases. The court will
update the case information once filed.




                                        Notice of Change of Address or Law Firm
(September 2009)
